       Case: 3:20-cr-00010-jdp Document #: 32 Filed: 08/19/20 Page 1 of 6

                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN
                                                                                           one NO
- - --         - - - - -- -- --                         -    -   - -- --                  '° EC'O/FIL-Ef)
                                                                                     -----'-"

UNITED STATES OF AMERICA                                    SUPERSEDING           2020 AUG 19 PM 6: 07
                                                            INDICTMENT               PET ER OP ENEE:
              V.                                                                   CLE-RK US DI ST C01! 1
                                               Case No.: 20-cr-00010-jdp                  Wfl O-F WI
DAVID M. KRUCHTEN,                                       18 U.S.C. § 2251(a)
                                                         18 U.S.C. § 2251(e)
                            Defendant.



THE GRAND JURY CHARGES:

                                            COUNTl

       On or about October 27, 2019, in the Western District of Wisconsin, the defendant,

                                    DAVID M. KRUCHTEN,

knowingly and intentionally attempted to use a minor, Minor A, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, using materials that

had previously been transported in interstate and foreign commerce, specifically, hidden

recording devices.

             (In violation of Title 18, United States Code, Section 2251(a) and (e)).

                                           COUNT2

      On or about October 27, 2019, in the Western District of Wisconsin, the defendant,

                                   DAVID M. KRUCHTEN,

knowingly and intentionally attempted to use a minor, Minor B, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, using materials that

had previously been transported in interstate and foreign commerce, specifically, hidden

recording devices.

             (In violation of Title 18, United States Code, Section 2251(a) and (e)) .
       Case: 3:20-cr-00010-jdp Document #: 32 Filed: 08/19/20 Page 2 of 6

                                           COUNT3

       On or about October 27, 2019, in the Western District of Wisconsin, the defendant,

                                   DAVID M. KRUCHTEN,

knowingly and intentionally attempted to use a minor, Minor C, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, using materials that

had previously been transported in interstate and foreign commerce, specifically, hidden

recording devices.

             (In violation of Title 18, United States Code, Section 2251(a) and (e)).

                                           COUNT4

       On or about October 27, 2019, in the Western District of Wisconsin, the defendant,

                                   DAVID M. KRUCHTEN,

knowingly and intentionally attempted to use a minor, Minor D, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, using materials that

had previously been transported in interstate and foreign commerce, specifically, hidden

recording devices.

             (In violation of Title 18, United States Code, Section 2251(a) and (e)).

                                           COUNTS

      On or about October 27, 2019, in the Western District of Wisconsin, the defendant,

                                   DAVID M. KRUCHTEN,

knowingly and intentionally attempted to use a minor, Minor E, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, using materials that

had previously been transported in interstate and foreign commerce, specifically, hidden

recording devices.

                                            2
       Case: 3:20-cr-00010-jdp Document #: 32 Filed: 08/19/20 Page 3 of 6

              (In violation of Title 18, United States Code, Section 2251(a) and (e)).

                                            COUNT6

       On or about October 27, 2019, in the Western District of Wisconsin, the defendant,

                                    DAVID M. KRUCHTEN,

knowingly and intentionally attempted to use a minor, Minor F, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, using materials that

had previously been transported in interstate and foreign commerce, specifically, hidden

recording devices.

             (In violation of Title 18, United States Code, Section 2251(a) and (e)).

                                            COUNT7

       On or about January 20, 2019, in the Western Dish·ict of Wisconsin, the defendant,

                                    DAVID M. KRUCHTEN,

knowingly and intentionally attempted to use a minor, Minor G, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, using materials that

had previously been transported in interstate and foreign commerce, specifically, hidden

recording devices.

             (In violation of Title 18, United States Code, Section 2251(a) and (e)).

                                           COUNTS

      On or about October 29, 2018, in the Western District of Wisconsin, the defendant,

                                   DAVID M. KRUCHTEN,

knowingly and intentionally attempted to use a minor, Minor H, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, using materials that




                                             3
       Case: 3:20-cr-00010-jdp Document #: 32 Filed: 08/19/20 Page 4 of 6

had previously been transported in interstate and foreign commerce, specifically, hidden

recording devices.

             (In violation of Title 18, United States Code, Section 2251(a) and (e)).

                                           COUNT9

       On or about October 29, 2018, in the Western District of Wisconsin, the defendant,

                                   DAVID M. KRUCHTEN,

knowingly and intentionally attempted to use a minor, Minor I, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, using materials that

had previously been transported in interstate and foreign commerce, specifically, hidden

recording devices.

             (In violation of Title 18, United States Code, Section 2251(a) and (e)).

                                          COUNT10

      On or about October 29, 2018, in the Western District of Wisconsin, the defendant,

                                   DAVID M. KRUCHTEN,

knowingly and intentionally attempted to use a minor, Minor J, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, using materials that

had previously been transported in interstate and foreign commerce, specifically, hidden

recording devices.

             (In violation of Title 18, United States Code, Section 2251(a) and (e)).

                                          COUNT11

      On or about October 29, 2018, in the Western District of Wisconsin, the defendant,

                                   DAVID M. KRUCHTEN,




                                            4
       Case: 3:20-cr-00010-jdp Document #: 32 Filed: 08/19/20 Page 5 of 6

knowingly and intentionally attempted to use a minor, Minor K, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, using materials that

had previously been transported in interstate and foreign commerce, specifically, hidden

recording devices.

              (In violation of Title 18, United States Code, Section 2251(a) and (e)).

                                           COUNT12

       On or about October 29, 2018, in the Western District of Wisconsin, the defendant,

                                    DAVID M. KRUCHTEN,

knowingly and intentionally attempted to use a minor, Minor L, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, using materials that

had previously been transported in interstate and foreign commerce, specifically, hidden

recording devices.

              (In violation of Title 18, United States Code, Section 2251(a) and (e)).

                                           COUNT13

       On or about October 29, 2018, in the Western District of Wisconsin, the defendant,

                                    DAVID M. KRUCHTEN,

knowingly and intentionally attempted to use a minor, Minor M, to engage in sexually

explicit conduct for the purpose of producing a visual depiction of such conduct, using

materials that had previously been transported in interstate and foreign commerce,

specifically, hidden recording devices.

             (In violation of Title 18, United States Code, Section 2251(a) and (e)).

                                           COUNT14

      On or about October 29, 2018, in the Western District of Wisconsin, the defendant,

                                             5
       Case: 3:20-cr-00010-jdp Document #: 32 Filed: 08/19/20 Page 6 of 6

                                   DAVID M. KRUCHTEN,

knowingly and intentionally attempted to use a minor, Minor N, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, using materials that

had previously been transported in interstate and foreign commerce, specifically, hidden

recording devices.

             (In violation of Title 18, United States Code, Section 2251(a) and (e)).

                                          COUNT15

      On or about December 6, 2019, in the Western District of Wisconsin and elsewhere, the

defendant,

                                   DAVID M. KRUCHTEN,

transported Minors I, K, L, M, 0, P, and Q, in interstate commerce from Wisconsin to

Minnesota, with the intent that such minors engage in sexually explicit conduct for the

purpose of producing a visual depiction of such conduct, using materials that had previously

been transported in interstate and foreign commerce, specifically hidden recording devices.

      (In violation of Title 18, United States Code, Section 2251(a) and 2).




                                         Indictment returned:


SCOTT C. BLADER
United States Attorney




                                            6
